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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

              Plaintiff,                         Case Nos. 22-CR-20504

       v.                                        HON. JONATHAN J.C. GREY

                                                 HON. DAVID R. GRAND
 AWS MOHAMMED NASER,

              Defendant.


            UNITED STATES’ MOTION FOR PRETIAL DETENTION


       Defendant Aws Mohammed Naser is a bombmaker and self-avowed “son of

 the Islamic State” (ISIS)—a vicious and brutal militant foreign terrorist organization.

 Naser’s support for ISIS and its precursor stretches back at least to 2012. Naser

 sought to travel and fight as a terrorist in the Middle East. In early 2012, he traveled

 to Iraq with a radical convert who eventually died fighting for ISIS. Naser later

 bragged about his role a murder and robbery during that trip, and how the proceeds

 were given to other terrorists. Later in 2012, Naser twice purchased a one-way ticket

 to rejoin the fight, first to Iraq and then to Lebanon. Each time he checked-in for his

 flight but was denied boarding.

       So, Naser turned his fight inward on America. With careful study and the aid of

 ISIS instruction, he gathered explosive materials and drones. Discovery of his ISIS

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 materials led to the execution of search warrants. Agents found him with dangerous

 weapons. Worse, they uncovered his basement bomb lab ready to assemble an

 improvised explosive device (IED)—a scourge of American soldiers and civilians

 alike. Because of Naser’s actions, a grand jury indicted him on attempted material

 support for ISIS and for being a felon in possession of a destructive device.

       Naser was on parole because his violence is more than aspirational. He is a

 convicted armed robber who practices aggression against those within his reach—his

 mother, ex-wife, coworkers, and school officials. He refused to comply with Court

 ordered supervision and has remained violent while on parole and in custody. While

 under parole supervision, Naser slashed his coworker’s tires, possessed dangerous

 weapons, and lied to his parole agent. His parole was revoked and he responded to

 custody with dozens of misconducts for serious offenses like possessing dangerous

 weapons and refusing to follow prison rules. He hasn’t changed. During his current

 detention, he was again cited for possessing a homemade weapon.

       Naser’s terrorism charge carries a presumption of detention under 18 U.S.C.

 § 3142(e)(3) and is a twenty-year felony. His felon in possession of a destructive

 device charge is a fifteen-year felony. With all of this—his galvanized support for

 ISIS, his determination to have weapons, his repeated physical violence, his bomb-

 making while on parole, his obstinate refusal to comply with any supervision (in and

 out of custody, state and federal), and the presumption against releasing him—he has

 asked this Court to trust him on its supervision.


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         Naser’s violence, bomb-making, and meticulous plotting to support ISIS make

 him a danger to the community. He has also repeatedly said he wants to leave the US

 and earlier obtained an Iraqi passport in a different name. With his severe potential

 penalties and refusals to comply with supervision, his flight risk is extreme. He should

 be detained until trial this Spring.

         What’s more, he has moved this Court to apply the extraordinary relief of the

 All Writs Act. But he did so without making an argument, or even a motion with the

 required effort at concurrence. This Court should find this perfunctory argument to

 be waived or should strike it for non-compliance with the rules.

    I.      BACKGROUND

                     The Islamic State of Iraq and al-Sham (ISIS)

         ISIS is a well-known anti-American terrorist organization.

         In 2004, the U.S. Secretary of State (the Secretary) designated al Qaeda in Iraq

 (AQI), then known as Jam’at al Tawhid wa’al-Jihad, as a Foreign Terrorist

 Organization (FTO) under section 219 of the Immigration and Nationality Act (INA)

 and as a Specially Designated Global Terrorist under section 1(b) of Executive Order

 13224. In 2015, the Secretary added the following aliases to the FTO listing: Islamic

 State, ISIL, and ISIS. To date, ISIS remains a designated FTO. Then Secretary of

 State John Kerry described ISIS’s brutal tactics—which include beheadings and taking




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 slaves—as “more extreme even than al Qaeda.” 1

     Naser Radicalizes and Attempts to Travel to Syria to Fight for Terrorists

       In his early 20s, Naser radicalized and vocally supported extremist Islamist

 ideology. For example, in 2011, Naser maintained a YouTube channel and frequently

 posted extreme content, including his self-description: “Jihad for the Sake of Allah is

 all i Want in this life. And if i Get Martydom ill Ask Allah if i can go Back and do it

 Agian.”

       Naser contemporaneously developed a close relationship with Russell

 Dennison, an aspiring Islamic Salafi-Jihadist preacher from Tampa, Florida. With their

 shared ideology, the pair made plans to leave the US in early 2012 and jointly travel to

 Iraq. Naser (an experienced translator) agreed to aid Dennison, a convert who did not

 speak or understand Arabic.

       On January 7, 2012, Dennison’s close friend, Sami Osmakac, was arrested by

 the FBI in Tampa and charged with attempting to use a weapon of mass destruction

 against persons and property in the United States in violation of 18 U.S.C. § 2332a.

 Fearing arrest, Dennison fled Tampa and flew to Detroit where he stayed with Naser

 in his home for about a week before going to Iraq. Naser followed Dennison to Iraq

 and the pair spent several weeks traveling to Erbil and Mosul. By April 2012,

 Dennison left Iraq and began his months-long journey through Jordan and Lebanon



 1
   https://www.nbcnews.com/storyline/iraq-turmoil /more-extreme-al-qaeda-how-
 isis-compares-other-terror-groups-n135516.
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 to Syria, where he joined the foreign terrorist organization Al Nusrah Front, an

 Islamic State of Iraq-affiliated group that was a precursor to ISIS. Dennison pledged

 himself to Al Nusrah Front and later ISIS, and fought for them in Syria until

 approximately 2019, when it is believed he was killed.

       Using a new Iraqi passport in the name Aws Naser Al-Ogaidi, Naser returned

 to his home in Michigan in August 2012 and immediately began preparations to join

 Dennison in Syria. The pair continued to communicate, sometimes using coded

 language. On September 11, 2012, Dennison wrote to Naser that he had “made it” to

 the place “where we talked about going.” Dennison told Naser that he could come

 through Lebanon or Turkey and asked Naser to “save up some money to buy some

 nice things.” Naser later told the FBI that that meant a weapon, most likely an AK-47,

 and that he agreed to give Dennison the funds. Dennison told Naser that “a nice

 thing” costs about $1,200, and asked Naser to bring enough money for them both to

 acquire the weapons. Dennison also old Naser that he should “pack really light, just

 enough for a small backpack because you have to travel through the mountains for

 about 5 hours.” Finally, Dennison asked Naser to let him know when he was ready to

 travel. Naser replied on September 13, 2012, and told Dennison, “I need more time

 like 2 months or less” and “don’t worry i will have enough by the will of Allah.”

       On September 14, 2012, Dennison told Naser he was in “a city near the border

 with Lebanon,” where he arrived after a 5-hour march through the mountains.

 Dennison told Naser that he did not have the things he needed and again asked Naser


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 to bring enough money for them both to acquire firearms. Dennison explained that

 “the brothers just finished a big war” and were low on funds. Dennison reported they

 were bombed day and night and “it is really bad here.” Dennison stated they were

 preparing for the next battle and “we really need funds for a weapon to take down the

 planes.” Finally, Dennison asked Naser to “come soon and come prepared, get ready,

 it is real here and this place needs us more than anywhere else” and that many of the

 brothers there are “new to real islam just from the war.”

       Naser answered the same day and expressed frustration that he was not with

 Dennison, stating, “If i could be there now i would already be.” Naser told Dennison

 he would bring the money they both needed, and “you Never have to pay anything

 back what i give & do is only for Allah.” Naser explained, “i know 2 months is a long

 time but i promise you if it is less then that I will already be there. 1 month or 3 weeks

 insha allah. Akhi i will be there as soon as possible INSHA ALLAH!!”

       Naser purchased a one-way plane ticket bound for Iraq and, on November 7,

 2012, he traveled to Detroit Metropolitan Airport (DTW) and checked in for a flight

 to Erbil, Iraq via Chicago, Illinois and Istanbul, Turkey. Naser had a sword concealed

 in a cane, a four-inch tactical knife, and a Yardage Pro 4-12x42 Laser Rangefinder

 Riflescope in his checked luggage. Naser was not permitted to board the plane.

       Undeterred, Naser searched the internet for alternative routes (airports in

 Mexico and Canada), entry requirements for Egypt, Lebanon, Tunisia, and Iraq,

 information about refugee seekers to Norway, and the cost of living in Lebanon and


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 Iraq. On December 29, 2012, Naser purchased another one-way plane ticket

 departing from Chicago’s O’Hare Airport at 9:30 p.m. on January 2, 2013, bound for

 Beirut, Lebanon via Amman, Jordan. Naser also purchased a Greyhound bus ticket

 from Detroit to Chicago departing at 7:00 a.m. on the morning of the flight.

       Hours before his January 2, 2013, scheduled flight to Lebanon, Naser robbed

 one gas station and damaged property at another. The first occurred on January 1,

 2013, at a Sunoco Gas Station in Detroit where Naser had recently worked and had

 been fired. At approximately 10:15 p.m. on January 1, 2013, Naser entered the Sunoco

 and purchased 6 quarts of motor oil. He poured oil all over candy bars and in the

 ATM machine, the EBT and credit card machines, causing significant damage.

       Thirty-three minutes later, at 10:48 p.m., Naser entered a Mobil Gas Station in

 Bloomfield Township where, several weeks earlier, he had worked and been fired

 upon suspicion of theft. Naser walked directly to a store shelf and grabbed a package

 containing pepper spray. Armed with the pepper spray, Naser assaulted and robbed

 the cashier. The cashier suffered large bruises on his head, a scrape on the left side of

 his face, and injuries to his eyes from the pepper spray.

       Naser then took a bus to Chicago and attempted to board his January 2, 2013,

 flight to Lebanon. He was again denied boarding and returned to Michigan. The

 following day, Naser recorded a video falsely labeling Dennison an FBI informant and

 posted the video on his YouTube channel.




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                 Naser is Imprisoned and ISIS Rises to Prominence

        On January 4, 2013, Naser was charged with armed robbery for his conduct at

 Mobil. He was convicted after a jury trial and sentenced to 3 to 20 years. During his

 incarceration, the Islamic State of Iraq became ISIS and its leader, Abu Bakr al-

 Baghdadi, announced a merger with Al Nusrah. ISIS seized territory and declared a

 Caliphate. Its leaders directed adherents to either (1) travel to the Islamic State

 (perform Hijrah), or (2) engage in attacks in their homelands. ISIS, described as “an

 organization whose brutality is shocking even by the standards of terrorism,” United

 States v. Ahmed, 107 F.Supp.3d. 1002, 1005 (D. Minn. 2015), inspired numerous

 individuals to commit terrorist acts resulting in mass casualties in the United States

 and elsewhere. ISIS published articles in its propaganda news magazines, released

 wildly popular propaganda videos, and advised individual followers through social

 media to engage in attacks. Moreover, these same platforms often included

 information on how to conduct these attacks.

         Naser’s Steadfast Support for ISIS Includes Building Explosives

        Naser had been ordered deported upon his release from state prison, but his

 deportation order was unexpectedly rescinded by an ILJ in March 2016. As a result,

 Naser was paroled on March 18, 2016. Unable to travel to join ISIS, Naser focused

 his attention on how to support ISIS in the United States. However, because he was

 under supervision, Naser was careful to hide his activities. Naser used two cellular

 phones—an iPhone 7 Plus, which he disclosed to his parole agent, and an LG phone,


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 which he kept hidden. Naser surreptitiously created social media accounts on

 Telegram and PalTalk. Using monikers like “MuslimX1” and “ISxxxIS”, Naser joined

 invitation-only ISIS supporters’ chatrooms, groups, and private rooms where he

 obtained and viewed official ISIS media reports, publications, and other jihadi

 propaganda. He voraciously consumed ISIS and other jihadi propaganda depicting

 and promoting violent extremism and he collaborated with ISIS supporters and

 bombmakers. He solicited and obtained information on explosives and experimented

 with manufacturing explosives and operating drones.

       On May 27, 2016, Naser activated a Telegram bot called “ISxOne1Bot.” Bots

 can be programmed to remind, connect, broadcast, and integrate with other services.

 Bots can also be used as a method of anonymizing messages and storing content.

 Naser used his bot as a secure way to store information, often forwarding important

 messages and content from his Telegram account to his Bot. For instance, on March

 12, 2017, Naser forwarded a recipe for the explosive Copper Azide to his Bot. The

 recipe had been posted in the Telegram chatroom by a self-proclaimed ISIS bomb-

 maker via his Telegram account: “MUJAHIDEEN_SECRETS_BOT.” Naser also

 forwarded the ISIS bayat (oath) which begins in Arabic with “We renew our oath of

 allegiance to Caliph Abu-Bakr al-Baghdadi…” to his bot on July 7, 2017.

       Naser actively solicited information on explosives. For instance, during an

 April 15, 2017, PalTalk chat, Naser asked a participant in Arabic, “do you know how

 to make explosives?” That same day, Naser downloaded and viewed an explosives


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  video which contains step-by-step instructions on how to use household products to

  assemble a homemade bomb for use in a terror attack. The video was produced by

  the Ibn Taymiyyah Media Center (ITMC), a Gaza-focused jihadi media group, and

  posted on its Telegram and Twitter accounts and elsewhere on April 26, 2016. This

  video demonstrated the process to make a homemade bomb from acetone peroxide,

  using metal balls for shrapnel. The video recommended using the bomb in closed

  spaces like busses, restaurants, or similar locations, where it would be most effective

  and cause the most harm. Naser downloaded the video from Telegram on April 15,

  2017. Naser’s explosives-making materials were in lock-step with the instructions

  detailed in the video.

         Naser also experimented with manufacturing explosives. During an August 5,

  2017, ISIS Supporters chatroom discussion, Naser told a user, “You taught me a very

  useful thing” … “How to cook a dish �” which was “a procedure to roast [or

  grill].” Between August and October 2017, Naser communicated in Arabic with a user

  who appeared to be instructing Naser on the manufacture of explosives. During one

  discussion in a private PalTalk chatroom on September 15, 2017, Naser was asked if

  he was able to successfully manufacture the detonator. When Naser agreed that he

  had, the instructor told Naser he would give him another recipe and the pair agreed to

  continue their discussion on Telegram.

         In June-July 2017, Naser participated in a Telegram ISIS supporters chatroom

  in which numerous users sought information about explosives, detonators, and/or

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  explosives belts. For instance, one user “Islam is above all: Al-Ahwazi” posted a

  request (in Arabic) for a simple teaching about how to make a bomb to be planted in

  some place, or how to make an explosives belt. Another user “I will avenge God’s

  religion” posted a link to a simplified course in manufacturing explosives. A user

  named “Al-Bihani” told participants in the chat in Arabic: “I want an explosive

  material but not tnt for an explosive belt and it can be obtained from easily-accessible

  material and it is of a strong effect.” An unnamed user asked participants if there was

  a way to produce a detonator using acetone peroxide. In addition to discussions about

  explosives, there were posts on the use of the Kalashnikov weapon, and how to

  extract ricin poison from castor oil seed, its effects, and the amounts needed to kill a

  child or adult.

         Naser came to the attention of law enforcement in California in April 2017

  after an undercover DEA employee reported hearing a user (later identified as Naser)

  make statements in the PalTalk ISIS supporters chatroom, bragging about his real-

  world support for ISIS and encouraging others to do the same. Naser also bragged

  about his role in the murder and robbery of a Christian gold shop owner in Mosul,

  Iraq in 2012. According to his retelling, Naser and others watched the man, entered

  his store, killed him, stole his gold, and then gave the stolen gold to Mujahedin.

         When parole agents conducted a home visit on May 19, 2017, they were

  concerned when they observed Naser was sleeping on the floor in a separate room

  from his wife (from whom he was not estranged at that time) in an effort to be pious;


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  a drone manual; and Arabic handwritten statements which when translated, included

  the statements: “I am the son of the Islamic State. If the mountains swayed, I will not

  sway” and “We are soldiers of the Caliphate, we shoot with word and a bullet.”

        At the next home visit on August 16, 2017, parole agents learned that Naser

  had lied to them in violation of his parole conditions. Since his release from prison,

  Naser claimed he did not have any social media accounts and only disclosed his use of

  an iPhone 7 Plus. During the home visit, Naser attempted to hide another phone—an

  LG—from his parole agent by placing it behind his back as he sat down. When the

  agent examined the LG phone, he immediately recognized ISIS propaganda images

  and videos. Naser also stored on the LG phone numerous previously undisclosed

  social media accounts, including Facebook, Instagram, Snapchat, Skype, Twitter,

  PalTalk, Telegram, WhatsApp, and YouTube. Naser also had downloaded on the LG

  phone applications to securely browse the both the internet and the dark web with

  anonymity, including the Tor browser (for anonymity and access to the dark web),

  Orfox (an encrypted browser), and Orbot (another encryption aid). 2

                 Naser is Found with a Bomb-Making Lab While on Parole

        On October 30, 2017, the FBI searched Naser’s home and vehicle pursuant to

  federal search warrants. Naser had moved into the basement. He moved his wife and

  children out of the home and Naser had a tenant living in one of the upstairs


  2
   See What is the Tor Browser?: A Guide to the Dark Web Browser
  (vpnoverview.com); Orfox - Guardian Project; What is Orbot and how to use its
  VPN (nerdschalk.com)
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  bedrooms. In the basement, agents located Naser’s makeshift bed on the floor, a

  computer, weapons, drones, and other items. Specially trained FBI Special Agent

  Bomb Techs also located in a corner of the basement numerous chemicals and other

  components.

        The FBI’s Explosives Unit expert examined the evidence and concluded that

  Naser possessed the three key ingredients of the high explosive, triacetone

  triperoxide, or TATP3—acetone, sulfuric acid, and hydrogen peroxide, and that the

  items found during the search were components comprising a main explosive charge,

  precursor chemicals of a main explosive charge, main charge containers and

  components for an electrical fuzing system. If properly assembled, these items would

  comprise a destructive device. Naser had numerous mini light bulbs, like Christmas

  tree lights, which are commonly used by bombmakers as initiators in the fusing

  system. He had switches, digital timers, and two-way radios which can also be used as

  arming and/or firing switches, and power sources in the fusing system. And he had

  fragmentation—specifically hunting pellets and copper BBs. If attached to the main

  charge container, they can be propelled outward at great velocity once the bomb



  3
    Islamic extremists often refer to TATP as “the Mother of Satan” for its devastating
  instability. TATP has been used in major terrorist attacks, including the attempted
  Christmas Day bombing of Delta airlines flight 253 over Detroit, Michigan in 2009.
  (United States v. Abdulmutallab, EDMI 10-20005, ECF No. 90, PgID.513), the March
  2016 Brussels bombings, the November 2015 Paris attacks, and in the 2005 London
  bombings. See https://www.washingtonpost.com/news/checkpoint/wp/2016/03/
  23/the-type-of-bombs-used-in-brussels-have-been-seen-before/

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  explodes and can cause property damage, serious physical injury and/or death.

  Numerous other items, such as glass measuring cups and jars, coffee filters, gloves, a

  syringe, squeeze bottles, sandpaper, and tools, were also found co-located with wiring

  and electronic components. The FBI’s explosives experts compared the materials

  found in Naser’s basement with the materials used in the ITMC video and concluded

  that Naser possessed the same materials (and/or their functional equivalent)

  recommended for use in the video.

                        Naser’s Dangerous Handheld Weapons

        Naser also possessed numerous dangerous weapons, including: a sword

  concealed in a cane, an airsoft gun and CO2 cartridges, a stun gun, several tactical

  knives, one round of .38 caliber ammunition, copper BBs, and hunting pellets. Here

  are photos some of his dangerous weapons from that day.




                                       Cane Sword




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     Smith & Wesson BB/air soft gun and                 Stun-gun
             CO2 cartridge




      Serated knife with hand guard          Knife with metal knuckle grip




      Folding knife (Tanto blade)                      Folding knife




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       .38 caliber ammunition                    CO2 cartridges

                                    Naser’s Drones

        Naser had several drones of varying sizes, remote controls, and other materials

  related to drones. On a work bench adjacent to the explosives-making materials, he

  had been working on customizing drones (shown here).




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                      Naser Earns Dozens of Prison Misconducts

         Naser was arrested on October 30, 2017, and charged with 50 parole violations

  during the 18 months he was on parole. On January 18, 2018, Naser was found guilty

  of many of the most serious violations at a hearing, including for violating state law

  involving the malicious destruction of property; assaultive, abusive, threatening

  and/or intimidating conduct involving slashing vehicle tires; possession of dangerous

  weapons, including a firearm (airsoft gun), knives, a concealed sword, a stun gun, and

  ammunition; for failing to notify the police of his contact with law enforcement, and

  submitting a false and inaccurate report to his parole agent. Naser’s parole was

  revoked was returned to custody for a period of 60 months. (Gov’t Ex. 1). His

  maximum discharge date from state parole is January 3, 2033.

         During the three years he was in custody for armed robbery (2014-2016), Naser

  accrued 8 misconduct violations, including for possessing dangerous contraband (a

  razor), disobeying a direct order, being out of place, and failing to follow the rules.

  During the time he was returned to custody after violating his parole (2017-2022)

  Naser accrued an astounding 31 additional misconducts in prison for: fighting,

  creating a disturbance, possession of contraband, destruction/misuse of property,

  possessing forged documents/forgery, possession of stolen property/theft,

  unauthorized occupation of a cell, disobeying a direct order and for being out of

  place. (Gov’t Ex. 2)




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           Naser has been in federal custody at FCI Milan since his November 2022

  arraignment. On January 20, 2023, Naser was given a 30-day disciplinary sentence in

  the Special Housing Unit, a 120-day loss of email and visitation privileges, and a loss

  of 41 days of Good Time Conduct after a 5-inch-long homemade weapon with a

  sharpened point at one end was found in his cell. (Gov’t Ex. 3). On February 14,

  2023, Naser was found to have engaged in phone abuse. As a result, he lost his ability

  to use the phone for the month of June 2023, lost commissary for 60 days, and lost 13

  days of Good Time Conduct.

                         Naser Intends to Leave the United States

           Naser left the US in 2012. Later that year, he twice tried to travel to the Middle

  East to perform Hijrah. Since being denied that travel by air, he has repeatedly stated

  that he wants to leave the United States. He has researched driving into Canada and

  Mexico as methods to avoid future law enforcement efforts to prevent him from

  flying. Naser has also used an Iraqi passport in another name.

     II.      ARGUMENT

           Under the Bail Reform Act, a defendant must be detained pending trial if “the

  judicial officer finds that no condition or combination of conditions will reasonably

  assure the appearance of the person as required and the safety of any other person

  and the community.” 18 U.S.C. § 3142(e)(1). The Act requires detention whenever the

  defendant is either a risk of nonappearance or a danger to the community. See id.;

  United States v. Hazime, 762 F.2d 34, 37 (6th Cir. 1985). Dangerousness “must be


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  ‘supported by clear and convincing evidence.’” United States v. Stone, 608 F.3d 939, 945

  (6th Cir. 2010) (quoting 18 U.S.C. § 3142(f)(2)). But the risk of nonappearance may be

  shown by a preponderance of the evidence. Hazime, 762 F.2d at 37.

                 The Statutory Presumption Against Releasing Naser

        “When a ‘judicial officer finds that there is probable cause to believe’ that a

  defendant committed one of the crimes listed in section 3142(e)(3), there is a

  presumption in favor of detention: ‘Subject to rebuttal by the person, it shall be

  presumed that no condition or combination of conditions will reasonably assure the

  appearance of the person as required and the safety of the community[.]’” Stone, 608

  F.3d at 945 (quoting 18 U.S.C. § 3142(e)(3)). “A grand jury indictment, by itself,

  establishes probable cause [for] . . . the crime with which he is charged.” Hazime, 762

  F.2d at 37. The “presumption in favor of detention imposes only a ‘burden of

  production’ on the defendant, and the government retains the ‘burden of

  persuasion.’” Stone, 608 F.3d at 945 (citations omitted). “Although a defendant’s

  burden of production ‘is not heavy,’ he must introduce at least some evidence.” Id.

        “Even when a defendant satisfies his burden of production, however, the

  presumption favoring detention does not disappear entirely, but remains a factor to be

  considered among those weighed by the district court.” Id. (citations and quotations

  omitted). “The presumption reflects Congress’s substantive judgment that particular

  classes of offenders should ordinarily be detained prior to trial.” Id. “To rebut the




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  presumption, therefore, a defendant should ‘present all the special features of his case’

  that take it outside ‘the congressional paradigm.’” Id. at 946.

         Here, the grand jury indicted Naser for attempting to provide material support

  to a foreign terrorist organization, in violation of 18 U.S.C. § 2339B. So, there is

  probable cause. And there is a rebuttable presumption of detention for “an offense

  listed in section 2332b(g)(5)(B) of title 18, United States Code, for which a maximum

  term of imprisonment of 10 years or more is prescribed[.]” 18 U.S.C. § 3142(e)(3)(C).

  Title 18 U.S.C. § 2339B is listed in 18 U.S.C. § 2332b(g)(5)(B), carries a maximum

  term of imprisonment of 20 years or more, and triggers the presumption. See United

  States v. Musaibli, No. 18-20495, 2022 WL 1695765, at *10 (E.D. Mich. May 26, 2022)

  (where defendant was charged with providing or attempting to provide material

  support to a designated foreign terrorist organization, contrary to 18 U.S.C. § 2339B,

  the crimes are “so serious that they trigger a rebuttable presumption of pretrial

  detention under the Bail Reform Act.”). Pursuant to 18 U.S.C. § 3142(e)(3), “it shall

  be presumed that no condition or combination of conditions will reasonably assure

  the appearance of the person as required and the safety of the community.”

         Naser cannot overcome the presumption of detention.

                   The 18 U.S.C. § 3142(g) Factors Favor Detention

        The relevant factors are in 18 U.S.C. § 3142(g) and include the nature and

  circumstances of the offense, the weight of the evidence of dangerousness, the




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  defendant’s history and characteristics, and the nature and seriousness of the danger

  posed by the person’s release.” United States v. Hoskins, 181 F.3d 105 (6th Cir. 1999).

                    Nature and circumstances —18 U.S.C. § 3142(g)(1)

         Naser ’s crimes implicate many express factors in 18 U.S.C. § 3142(g)(1).

         To start, count one is a federal crime of terrorism, which is an express factor.

  See U.S.C. § 3142(g)(1) (“whether the offense is . . . a Federal crime of terrorism”). 18

  U.S.C. § 2332b(g)(5)(B) specifically lists 18 U.S.C. § 2339B (relating to providing

  material support to terrorist organizations) as a “Federal crime of terrorism.” “There

  is no question that the crimes here are among the most serious with which a

  defendant in federal court can be charged.” United States v. Musaibli, No. 18-20495,

  2022 WL 1695765, at *10 (E.D. Mich. May 26, 2022). And the “grave nature of the

  crimes charged in this case weighs heavily in favor of continued detention.” Id. See

  also United States v. Ceasar, 10 F.4th 66, 79 (2d Cir. 2021) (“Terrorism represents a

  particularly grave threat because of the dangerousness of the crime and the difficulty

  of deterring and rehabilitating the criminal.”); United States v. Hendricks, No. 16-265,

  2019 WL 1282222, at *4 (N.D. Ohio Mar. 19, 2019) (“There is no question that [the

  defendant] engaged in a serious criminal offense. ISIS. Terrorism. Those terms alone

  would likely be enough for an ordinary citizen to insist that [the defendant] spend the

  rest of his life in prison.”).

         Next, Naser’s criminal activity involved his possession and willingness to use

  explosives, destructive devices, and firearms. This is another listed factor. See 18


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  U.S.C. § 3142(g)(1) (“whether the offense . . . involves a firearm, explosive, or

  destructive device ”). Agents found him with dangerous weapons. Worse, they

  uncovered his basement bomb lab with a ready-to-assemble IED. When agents tested

  a replica of Naser’s planned IED, it caused terrible damage.

         Naser’s offense carries a stiff penalty. Title 18 U.S.C. § 2339B carries a

  maximum term of imprisonment of 20 years. And his charge for being a felon in

  possession of a destructive device carries up to 15 years. These penalties reflect the

  serious nature of these crimes. See, e.g., Baldwin v. N.Y., 399 U.S. 66, 68 (1970) (“In

  deciding whether an offense is ‘petty,’ we have sought objective criteria reflecting the

  seriousness with which society regards the offense . . . and we have found the most

  relevant such criteria in the severity of the maximum authorized penalty.”).

               Danger to community or anyone—18 U.S.C. § 3142(g)(4)

         Naser is a clear danger to the community. He is violent and has a long history

  of possessing dangerous weapons. He practices aggression against those within his

  reach—his mother, ex-wife, coworkers, and school officials. He refused to comply

  with Court supervision and has remained violent while on parole and in custody.

  While under parole supervision, Naser slashed his coworker’s tires, and possessed

  dangerous weapons. His parole was revoked and he has earned numerous prison

  misconducts in for possessing dangerous weapons. The Sixth Circuit has upheld the

  pretrial detention of defendants on dangerousness grounds based in part on weapons

  found in the defendant’s homes. See United States v. Abboud, 42 Fed. App’x 784 (6th


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  Cir. 2002); United States v. Ramsey, 110 F.3d 65 (table), 1997 WL 135443, at *1 (6th Cir.

  March 24, 1997).

         He has committed himself to ISIS, and his commitment has never wavered.

  His “interest in committing actual, physical violence . . . and lack of concern about the

  likelihood of killing civilians, through the use of weapons of mass destruction,

  firearms, and other means . . . weigh in favor of detention.” Stone, 608 F.3d at 948.

                     Weight of the evidence—18 U.S.C. § 3142(g)(2)

         This factor “goes to the weight of the evidence of dangerousness, not the

  weight of the evidence of the defendant’s guilt.” Stone, 608 F.3d at 948. See also

  Hazime, 762 F.2d at 37 (the weight of evidence against the person “deals with the

  factors to be considered in determining whether there are conditions which will assure

  the appearance of the accused and safety of the community”). Here, the weight of the

  evidence of defendant’ dangerousness and risk of non-appearance is strong. “The

  principal and most damning element of the government’s case certainly is the

  defendant’s own narrative of his service to the ISIS cause[.]” United States v. Musaibli,

  No. 18-20495, 2022 WL 1695765, at *10–11 (E.D. Mich. May 26, 2022). Naser’s pro-

  ISIS statements are powerful evidence of his dangerousness. Id. (“the admissions of a

  defendant come from the actor himself, the most knowledgeable and unimpeachable

  source of information about his past conduct.”) (citing Arizona v. Fulminante, 499 U.S.

  279, 296 (1991)). And Naser’s stated intentions are corroborated by his claimed

  actions in Iraq in 2012, his voracious consumption of terrorist propaganda, his


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  support of other terrorists, his accumulation of weapons and explosives, and his

  extraordinary efforts to hide his activities.

                  History and characteristics—18 U.S.C. § 3142(g)(3)

         a. Criminal history

         Naser is 35 years old. And throughout his years, he has built a volatile and

  violent history. He has shown no regard for the law. He has repeatedly engaged in acts

  of aggression and violence to retaliate against those he perceives have wronged him.

  Naser’s conduct on probation and parole show he is unwilling to comply with court

  ordered conditions of release.

         On April 4, 2006, Naser (age 18) was charged with disorderly conduct on

  school property. After pleading guilty under advisement, Naser received a two-year

  diversionary sentence. Naser violated the terms of his probation, his diversion was

  revoked, and he was convicted of the misdemeanor on December 12, 2006.

         At age 19, Naser was arrested by the Dearborn Police Department for assault

  and battery. Naser’s mother alleged that during an argument, he shoved her over the

  couch, flipping it, and caused her to fall to the floor. Naser stood over her, pointed

  his finger in her face, swore at her, and then grabbed an apple and threw it against the

  wall. She was not injured but told police Naser had physically assaulted her in the past.

  After Naser was arrested and charged with misdemeanor domestic violence, he failed

  to appear for a settlement conference and a warrant was issued. He was arrested on

  the warrant days later. Naser pleaded guilty to assault and battery on April 13, 2008,


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  and received a year of probation along with a diversionary disposition under the

  Holmes Youthful Training Act.

         On March 8, 2011, Naser (age 22) was arrested and charged with driving with a

  suspended license. He pleaded guilty to this offense on September 25, 2012.

         On January 4, 2013, Naser (age 24) was arrested and charged with armed

  robbery. On January 1, 2013, Naser stole money from a Mobil Gas station, and

  assaulted and pepper-sprayed the store clerk. Naser had previously been fired from

  this gas station on suspicion of theft. Naser was convicted after a jury trial and

  sentenced to a term of 3 to 20 years in prison.

         Naser was paroled in March 2016. Just over a year into his parole on April 3,

  2017, Naser slashed two tires of a co-worker’s vehicle. The victim told police that he

  and Naser had worked together at a Citgo gas station. The victim reported that Naser

  held him responsible for making disparaging remarks about him to their boss and

  getting him fired. Naser retaliated against the victim by slashing his tires. Naser was

  arrested that July and then convicted of Breach of the Peace on October 11, 2017,

  and sentenced to three months’ probation.

         Naser was found guilty of having violated numerous parole conditions. His

  parole was revoked he was returned to custody for a period of 60 months. During his

  incarceration, he accrued dozens of misconducts. His maximum discharge date from

  state parole is January 3, 2033.




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         b. Marital Status and Children

         Naser is not currently married. Although not legally married, Naser lived as

  husband and wife with Noor Al-Bahiya in Westland, Michigan from 2010 until

  September 2017 (approximately). The couple has three young children, born in 2011,

  2013, and 2017.

         On August 10, 2017, when she was approximately 8 months pregnant, Ms. Al-

  Bahiya filed a petition for a Personal Protection Order (PPO) with Wayne County

  Third Circuit Court. Ms. Al-Bahiya described a history of domestic violence.

  Specifically, she alleged that in January 2017 [while he was on parole], Naser “punched

  me a couples [sic] times and choked me for a few seconds.” In February 2017, Naser

  threatened to kill her and their daughter, and to take their son and leave. When

  seeking the PPO on August 9, 2017, Ms. Al-Bahiya alleged that Naser threatened to

  take their children to Iraq, whether she liked it or not.

         Ms. Al-Bahiya gave birth to the couple’s third child in late September 2017. At

  that time, Naser planned to rent out the three bedrooms of their home to tenants so

  he gave Al-Bahiya an ultimatum: she could either move into the basement with their

  three children or live with his brother and his family. A few days after the birth of

  their third child, Al-Bahiya moved out of the home In November 2017, Al-Bahiya

  dissolved her union with Naser though an Islamic divorce.

         A review of jail calls shows Naser repeatedly attempted to persuade Al-

  Bahiya—directly and through his mother—to testify falsely at his December parole


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  revocation hearing and claim responsibility for the BB gun found in the home after

  she moved out. Al-Bahiya refused and Naser made threatening statements. For

  instance, in one call in Arabic on February 6, 2018, Naser told his mother, “She [Al-

  Bahiya] better pray and fast and wish that I don’t get out of jail. I will not live in

  injustice. She has to go and testify.” Later in the call, Naser told his mother, “I will

  not let her escape from this reality. The reality she put me in by not coming to testify.

  She will not escape this reality. I am not going anywhere, even for another five years.

  She can’t escape me.” In another call with his mother in Arabic on February 6, 2018,

  Naser threatened, “She [Al-Bahiya] will regret it if she does this. She and everyone

  that helped her with this case, they will regret it.” Aws says that he is destined by Allah

  to do something to Al-Bahiya, it might be good or it might be bad, only Allah knows,

  and added that Al-Bahiya will decide if what happens is good or bad.

         c. Education and Employment

         According to his 2013 MDOC Presentence Investigation Report (PSR), Naser

  dropped out of high school in the 11th grade and may have acquired a G.E.D. in

  2007. He attended Henry Ford Community College until December 2010 but did not

  complete a degree. He was banned from the campus in March 2011 because he was

  loud and disruptive and refused to quiet down or leave, and because he was

  combative with Campus Safety personnel and made direct attempts to provoke the

  officers. While on parole, Naser briefly attended Schoolcraft Community College. He

  was a student in June 2016, but he did not re-enroll for the summer or fall of 2017.


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         Naser’s employment history is sporadic and unstable. He has exhibited an

  inability to maintain stable employment and has had several serious and violent

  conflicts with former employers and co-workers. Prior to his armed robbery

  conviction, Naser quit his job as contractor linguist (having worked there from 2007-

  2008). He worked as a pizza delivery man from August through November 2012, and

  reportedly quit this job. Naser was employed for a few weeks at a Mobil gas station in

  November 2012, but he was fired and later robbed the business. He was an employee

  for Sunoco gas station from November to December 2012, and was also fired from

  this job for stealing lotto tickets, and later exacted retribution by damaging property.

  While on parole between March 2016 and October 30, 2017, Naser was again fired

  from a gas station.

                                 Naser is Also Flight Risk

         Naser was born in Iraq in 1988 and has family there. Naser traveled to Iraq

  from February through August 2012. While there, he obtained a passport from the

  Republic of Iraq in the name Aws Mohammed Naser Al-Ogaidi. Later that year, he

  twice tried to travel to the Middle East to continue his terrorist activities. Since being

  denied that travel, he has repeatedly stated that he wants to leave the United States.

  He has researched driving into Canada and Mexico as methods to avoid future law

  enforcement efforts to prevent him from flying. Naser’s consistent desire to leave the

  country undermines any reasonable assurance that he would not flee. United States v.

  Musaibli, No. 18-20495, 2022 WL 1695765, at *11 (E.D. Mich. May 26, 2022) (“The


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  record supplies no good grounds for any sound assurance that the defendant would

  not employ any means at his disposal to flee the jurisdiction if released.”).

                      There are no Viable Alternatives to Custody

        Additional conditions will not prevent him from continuing those activities.

  For example, a “tether offers little assurance of an appearance or an intent to forego

  activities that pose a danger to the community.” United States v. Tawfik, No. 17-20183-

  2, 2017 WL 1457494, at *8 (E.D. Mich. Apr. 25, 2017); see also United States v. Edwards,

  No. 07-20605, 2010 WL 157516, at *5 (E.D. Mich. Jan. 13, 2010) (agreeing that tether

  “would be entirely insufficient to either [e]nsure Defendant’s appearance or protect

  the community from the danger posed by Defendant”). Monitoring does nothing to

  mitigate the risk he poses to (in his own words) the “savages” and “rabid dogs” in his

  community. See United States v. Cureton, No. 12-20287, 2013 WL 4496276, at *2 (E.D.

  Mich. Aug. 21, 2013) (where a defendant is part of a violent organization, a GPS

  tether “would not alleviate the danger that Defendant poses to the community”).

        The fact that Naser’s passport was seized “merely makes it more difficult—not

  impossible—to abscond internationally.” United States v. Tawfik, No. 17-20183-2, 2017

  WL 1457494, at *8 (E.D. Mich. Apr. 25, 2017). Plus, surrendering one’s passport

  “obviously does nothing to restrict one from engaging in behavior that endangers the

  community.” United States v. Tawfik, No. 17-20183-2, 2017 WL 1457494, at *8 (E.D.

  Mich. Apr. 25, 2017).




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        A third-party custodian would not lessen Naser’s dangerousness. See, e.g., United

  States v. Wood, No. 19-20216, 2020 WL 4791205, at *3 (E.D. Mich. Aug. 17, 2020)

  (“While [defendant’s] third-party custodian may be well intentioned, the Court does

  not have confidence that [defendant] is.”). And Naser’s family would not be a suitable

  third-party custodian because defendant was already in relationship with them when

  he was committing his crimes. United States v. Perry, No. 16-20062, 2017 WL 1364083,

  at *10 (E.D. Mich. Apr. 7, 2017).

                   Naser’s Michigan Parole Board Allegations and
                     Perfunctory Reference to the All Writs Act

        Naser offers no evidence to rebut the presumption of detention. Instead, he

  makes passing reference to the All Writs Act (the Act) and asks for extraordinary

  relief. The Court should not consider this perfunctory request to interfere with the

  state criminal justice system by ordering his unconditional release from MDOC

  confinement. Naser does not bother to cite any case or make the effort to explain why

  it might apply here. This is not how one makes an argument; it is how it is waived. See

  Thomas v. United States, 849 F.3d 669, 679 (6th Cir. 2017) (“A party waives issues that

  he adverts to in a perfunctory manner, unaccompanied by some effort at developed

  argumentation.”); McPherson v. Kelsey, 125 F.3d 989, 995-96 (6th Cir. 1997) (“[I]ssues

  adverted to in a perfunctory manner, unaccompanied by some effort at developed

  argumentation, are deemed waived. It is not sufficient for a party to mention a

  possible argument in the most skeletal way, leaving the court to ... put flesh on its

  bones.” (internal quotations omitted)).

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         And the Act does not apply. The Act provides, in relevant part, that “all courts

  established by Act of Congress may issue all writs necessary or appropriate in aid of

  their respective jurisdictions and agreeable to the usages and principles of law.” 28

  U.S.C. § 1651. “Notably, the statute does not provide federal courts with an

  independent source of jurisdiction to issue writs, but only with the authority to issue

  writs in aid of their respective jurisdictions.” Baze v. Parker, 632 F.3d 338, 345 (6th Cir.

  2011) (citing United States v. Perry, 360 F.3d 519, 533 (6th Cir. 2004); Clinton v.

  Goldsmith, 526 U.S. 529, 534–35, 119 S.Ct. 1538, 143 L.Ed.2d 720 (1999) (All Writs

  Act does not “enlarge” federal court jurisdiction, but permits court to issue a writ of

  mandamus “in aid of its existing statutory jurisdiction.”).

         There is no federal jurisdiction over state parole decisions because there is no

  entitlement to parole. See Crump v. Lafler, 657 F.3d 393, 404 (6th Cir. 2011) (“There is

  no ‘legitimate claim of entitlement to’ parole, and thus no liberty interest in parole.”)

  (citations omitted); Ward v. Stegall, 93 F. App’x 805, 806 (6th Cir. 2004) (the “Michigan

  parole scheme does not create an expectation regarding parole that is sufficient to

  trigger a constitutionally protected liberty interest.”) (quoting See Sweeton v. Brown, 27

  F.3d 1162, 1164–65 & n. 1 (6th Cir. 1994)); Greenholtz v. Inmates of Nebraska Penal &

  Corr. Complex, 442 U.S. 1, 7 (1979) (There is no constitutional right of a lawfully

  convicted person to be conditionally released before the expiration of a valid

  sentence); Singleton v. Michigan Parole Bd., No. 12-13748, 2013 WL 1703925, at *2 (E.D.

  Mich. Apr. 19, 2013) (“Plaintiff has no constitutionally protected liberty interest in


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  parole that would raise a federal cause of action. Without a basis for federal

  jurisdiction, this court is precluded from granting a writ of mandamus in this case.”);

  Rather, “parole eligibility [is] a question of state law[.]” Ward v. Howes, No. 08-13051,

  2011 WL 4527786, at *2 (E.D. Mich. Sept. 29, 2011) (quoting Ward v. Stegall, No. 03–

  60042 (E.D. Mich. May 20, 2003)). And “[a] federal court may not issue [a] writ on the

  basis of a perceived error of state law.” Pulley v. Harris, 465 U.S. 37, 41 (1984).

         Plus, requesting relief under the Act would constitute a separate form of relief

  from federal bond. Naser mentions it here merely through an oblique reference.

  Parties should not be encouraged to file shadow motions in this fashion. See E.D.

  Mich. LR 7.1(a)(1) and (3) (“[t]he movant must ascertain whether the contemplated

  motion . . . will be opposed . . . [and the] court may impose sanctions for . . . violating

  this rule, which may include . . . striking the filing.); United States v. Ramesh, No. 02-

  80756, 2009 WL 817549, at *6 (E.D. Mich. Mar. 26, 2009) (“Seeking concurrence

  from the opponent is a mandatory directive of the Local Rules of this District.

  Inasmuch as [the defendant] has failed to comply with this Local Rule prior to filing

  this motion, the Court must deny the relief that he seeks to obtain.”).

         Moreover, Naser’s shadow motion is littered with statements that misrepresent

  the record. FBI Special Agent Jeffrey O’Donnell testified at the September 5, 2024,

  evidentiary hearing that Naser’s parole was revoked, and he was sentenced to serve a

  term of 60 months. (R. 185: Tr. 2103). Only 24 months into that term, FBI received

  information that Naser was “potentially” going to be released early. (Id. at 2105-106,


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  2122). O’Donnell testified that he emailed Eagen a PowerPoint presentation on

  January 23, 2020, which detailed evidence from the FBI’s counterterrorism

  investigation of Naser. (R. 190: Sealed Def. Ex. L). O’Donnell provided this new

  information to “decision makers at that level” because the FBI assessed Naser

  continued to pose a threat. (R. 185: Tr. 2112-113).

        Mr. Gerometta repeatedly asked O’Donnell if the FBI asked MDOC not to

  release Naser. O’Donnell testified each time that no such request was made. Likewise,

  there is absolutely no evidence that the FBI asked the MDOC to hold Naser until

  October 2022. While information from the FBI may have helped persuade decision

  makers that Naser’s connections to ISIS and possession of explosives materials

  warranted additional scrutiny regarding the propriety of giving Naser an early parole,

  the evidence shows that the decision to suspend Naser’s early release was an

  independent one made by the Parole Board, and not, as Naser claims, at the behest of

  the Department of Justice. (Id. at 2116).




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  III.   CONCLUSION

         The Court should detain Naser.
                                               Respectfully Submitted,

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                                               United States Attorney


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                                    Certificate of Service

         I hereby certify that on October 15, 2024, I electronically filed the foregoing

  paper with the Clerk of the Court using the ECF system which will send notification

  of such filing to the parties of record.

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  Date: October 15, 2024




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